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          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

                              ___________________

                                 No. 17-90038
                              ___________________

GUTHRIE ABBOTT; STEVEN QUEYROUZE; SARAH ELSON-ROGERS;
SALIM ESTEFENN URIBE; RUTH ALFILLE DE PENHOS; DIANA
SUAREZ,

            Plaintiffs - Petitioners

v.

OFFICIAL STANFORD INVESTORS COMMITTEE; SAMUEL TROICE;
PUNGA PUNGA FINANCIAL, LIMITED; DANIEL GOMEZ FERREIRO;
MANUEL CANABAL; PAM REED; LYNNE TURK; SUSAN BLOUNT;
DALE QUISENBERRY,

            Intervenor Plaintiffs - Respondents

v.

TRUSTMARK NATIONAL BANK; TORONTO-DOMINION BANK; SG
PRIVATE BANKING (SUISSE) S.A.; HSBC BANK, P.L.C.; INDEPENDENT
BANK, formerly known as Bank of Houston; SOCIETE GENERALE
PRIVATE BANKING,

            Defendants - Respondents

BLAISE FRIEDLI,

            Intervenor Defendant - Respondent

JOHN J. LITTLE, Court Appointed Examiner; RALPH S. JANVEY,

            Respondents
         Case: 17-90038         Document: 00514440493      Page: 2     Date Filed: 04/20/2018

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                                      ________________________

                                      Motion for Leave to Appeal
                                      under Fed. R. Civ. P. 23(f)
                                      ________________________

    Before DAVIS, JONES, and OWEN, Circuit Judges.

    PER CURIAM:

            IT IS ORDERED that the opposed motion for leave to appeal under Fed.
    R. Civ. P. 23(f) is DENIED.




A True Copy
Certified order issued Apr 20, 2018


Clerk, U.S. Court of Appeals, Fifth Circuit
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                       United States Court of Appeals
                                   FIFTH CIRCUIT
                                OFFICE OF THE CLERK
 LYLE W. CAYCE                                                           TEL. 504-310-7700
 CLERK                                                                600 S. MAESTRI PLACE
                                                                     NEW ORLEANS, LA 70130



                                April 20, 2018
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
       No. 17-90038       Peggy Rotstain, et al v. Trustmark National
                          Bank, et al
                          USDC No. 3:09-CV-2384

Enclosed is an order entered in this case.


                                    Sincerely,
                                    LYLE W. CAYCE, Clerk



                                    By: _________________________
                                    Melissa V. Mattingly, Deputy Clerk
                                    504-310-7719
Mr.   Joshua Eli Abraham
Mr.   Charles Rodney Acker
Mr.   Taylor Freytag Brinkman
Mr.   Edwin McAllister Buffmire
Mr.   Douglas J. Buncher
Mr.   Aaron C. Christian
Mr.   Michael Arthur Correll
Mr.   Roger B. Cowie
Ms.   Denise Lambert Drake
Mr.   Robin C. Gibbs
Mr.   Wallis M. Hampton
Mr.   Brian A. Hernan
Mr.   Peter Eric Kazanoff
Mr.   Andrew L. Kerr
Ms.   Susan Allison Kidwell
Ms.   Ashley McKeand Kleber
Mr.   Jeffrey C. Kubin
Mr.   James Vincent Leito
Mr.   John J. Little
Ms.   Karen S. Mitchell
Mr.   Peter Daniel Morgenstern
Ms.   Lynn K. Neuner
Ms.   Noelle M. Reed
Mr.   Benjamin Dox Reichard
Mr.   Kevin M. Sadler
Mr.   Eric Seiler
Ms.   Ellen Bush Sessions
      Case: 17-90038   Document: 00514440492   Page: 2     Date Filed: 04/20/2018

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Mr.   Edward C. Snyder
Mr.   Jesse C. Stewart
Mr.   Anthony F. Sullivan
Mr.   James Richard Swanson
Mr.   Paul Christopher Watler
Ms.   Courtney A. Welshimer
Mr.   George Abraham Zimmerman
